Case 15-51333-lrc   Doc 150   Filed 10/14/15 Entered 10/14/15 14:50:08   Desc Main
                              Document     Page 1 of 4
Case 15-51333-lrc   Doc 150   Filed 10/14/15 Entered 10/14/15 14:50:08   Desc Main
                              Document     Page 2 of 4
Case 15-51333-lrc   Doc 150   Filed 10/14/15 Entered 10/14/15 14:50:08   Desc Main
                              Document     Page 3 of 4
Case 15-51333-lrc   Doc 150   Filed 10/14/15 Entered 10/14/15 14:50:08   Desc Main
                              Document     Page 4 of 4
